                              Case: 2:23-cv-01022-TSB-KLL Doc #: 2-1 Filed: 03/20/23 Page: 1 of 7 PAGEID #: 20
                                                           Exhibit A to the Complaint
Location: White Cottage, OH                                                                                IP Address: 74.133.29.10
Total Works Infringed: 76                                                                                  ISP: Spectrum
 Work      Hashes                                                                 UTC              Site           Published     Registered   Registration
 1         Info Hash: CF71FD09F546DDB700BCF81E73AA77A94960EE83                            01-28-   Blacked        01-04-2023    01-10-2023   PA0002389594
           File Hash:                                                                       2023   Raw
           E0C974376E1F33771240B0161352067F18E953F9222066391F34E692E7F0D5E6             17:19:04
 2         Info Hash: AD6175D24714049B246E2C2976BED4EA9FEC2F8A                            01-28-   Blacked        01-09-2023    01-27-2023   PA0002393075
           File Hash:                                                                       2023   Raw
           E8240E3BC4A81A43B5E6928F8CDF864FD0B5F64395C5BCCE88FD9E70B53215B0             17:17:58
 3         Info Hash: 56C2716E79931DB8A44D913A20EE24C24D321831                            01-15-   Tushy          12-18-2022    01-10-2023   PA0002389612
           File Hash:                                                                       2023
           1638B0B52B921C429233D7D2DD0F896C0109219ED16C17155593CF9B6227AC94             16:20:18
 4         Info Hash: A26BB8C812B2646DB71C375FA96F1F50D76E27C3                            12-18-   Vixen          04-22-2022    05-20-2022   PA0002350377
           File Hash:                                                                       2022
           496833F669BF83F645C7101EC8B093ACF0D707158A49B56949D0652DC3A5D863             21:42:05
 5         Info Hash: F2FF5984C6669188B2BD37CF7C72FDF97A534272                            12-18-   Blacked        12-10-2022    01-10-2023   PA0002389588
           File Hash:                                                                       2022
           0CEAE4FCE56CEE14A6B3E1E9424700F52EF91EDD808E8ECFBBCCF1C399A306D1             20:20:58
 6         Info Hash: A06A21906C5CCA79C85F7BFCFDB7C755910C4E10                            11-05-   Blacked        10-22-2022    10-31-2022   PA0002377820
           File Hash:                                                                       2022
           471EBFF0B97DD8D5919A8670BD8F186FE5EAC62C4E7B7FBF24A5B3851ECC266C             03:31:54
 7         Info Hash: 40C2E7E796AB9700C7722910C2D772D72077A39C                            10-29-   Blacked        10-26-2022    11-01-2022   PA0002378070
           File Hash:                                                                       2022   Raw
           CAD74A769FFAF5260B68E5260185FCE0455E0154F544BD93F021C542F6BD0491             00:54:06
 8         Info Hash: 7C27BF095E4F194CF45757269281F48FF810FD09                            10-16-   Vixen          10-14-2022    10-31-2022   PA0002377830
           File Hash:                                                                       2022
           AB0A8264525BCAB853B2C49533E4DAA1A773A8801E286C169036253E64C206EB             18:24:53
 9         Info Hash: F64C22A67C587BB21EB6AF7E1B5A14CC262F18B8                            10-16-   Vixen          10-07-2022    11-24-2022   PA0002389323
           File Hash:                                                                       2022
           7EDBC714FD4B5464E6535343F2BE6921300B4B1C0C1CB3EDF29411EE15075A15             18:21:53
 10        Info Hash: 4885CE7D5699E3CBDEAE2E274F52D5F1327C4BE0                            10-16-   Vixen          06-03-2022    06-27-2022   PA0002354958
           File Hash:                                                                       2022
           01D770367B42B71A960D89E0508B44C4CD782779DC85FCD9E39AAC803DC29260             18:07:46
 11        Info Hash: 3BA0D3954BC406710F062C5979ECD9BF8A91237F                            10-15-   Blacked        10-01-2022    10-31-2022   PA0002377811
           File Hash:                                                                       2022   Raw
           B63705671B499FF06D1B96A11375F61E4779F02BDD1B90F8F602397FB45E1F1E             17:49:36
                        Case: 2:23-cv-01022-TSB-KLL Doc #: 2-1 Filed: 03/20/23 Page: 2 of 7 PAGEID #: 21

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 74B8BD53BF12A2073D2A04B37C8826F13B140035                   10-15-   Blacked   10-11-2022   10-31-2022   PA0002377831
       File Hash:                                                              2022   Raw
       265667A7A9870996F1562624DE5604DE7F0088FA131250F48F2C710990CB611F    17:49:26
13     Info Hash: 8EB2EDAA8840E976F99A8F2CAFD9CD75A1E71C8B                   10-15-   Blacked   09-26-2022   10-31-2022   PA0002377828
       File Hash:                                                              2022   Raw
       362579F131D2AC4FF784F2EAF0229469C2C9C437533951FB03ADEAC926A0A7B2    17:39:09
14     Info Hash: 7C805125B9931DC9B881E6AA9A14003D9ADD72FB                   10-15-   Blacked   10-06-2022   11-01-2022   PA0002378072
       File Hash:                                                              2022   Raw
       C92F531F420CA4C3D2F37137720823E4C4F393E2199BEAEB86E88D16F74BCD03    17:37:50
15     Info Hash: B6B3DC5C87C53BEBD0F5F455E3CF7308A1C85B4B                   09-24-   Vixen     09-02-2022   11-01-2022   PA0002378068
       File Hash:                                                              2022
       2368DA84A164610BA880B0F903ECE64219A9B6CAF2E841A8F04B5DDC9262C46E    14:27:45
16     Info Hash: 0470341D0EE7F066BCA23C40FB4BA20E17A92091                   09-24-   Blacked   09-16-2022   10-05-2022   PA0002373764
       File Hash:                                                              2022   Raw
       1E2E13E36A0C512C5156CC0FDDDEA112CA31907178300EE881FD428A36567559    13:34:41
17     Info Hash: AB4C8F6782155F94F25421BD73C0C84DEA95167E                   09-24-   Blacked   09-06-2022   10-05-2022   PA0002373770
       File Hash:                                                              2022   Raw
       FBCF6D53950FFB226F67470C3E92459585DB885A2D206CB1EC3152258DDD7DE9    13:30:22
18     Info Hash: 86C18487578E45172FA87A102FA37E2660FFF7A3                   09-24-   Vixen     09-09-2022   10-05-2022   PA0002373766
       File Hash:                                                              2022
       C69D40874320AA3D5184A284181943DF96513ED55CAF687E769D5A7EA14C162F    13:27:31
19     Info Hash: 775DEB6869799752C425208A57EC76F2FD91B60C                   08-17-   Vixen     01-21-2022   02-14-2022   PA0002335466
       File Hash:                                                              2022
       C7AF91E7382DAFE1AC88504E58F319D0553667EBD1539184C2C5ACF67D53CFFC    01:27:30
20     Info Hash: AF91979F566FD3D83F791FBDACF3241AF860E92C                   08-17-   Blacked   05-21-2022   06-27-2022   PA0002354986
       File Hash:                                                              2022
       597EE4589764A82DC7E08E082F3C33C99AC6FF5A0DDBEAB315B3632DF1225620    01:15:21
21     Info Hash: 3344C8CDFF9B33348E149E2D460B5D0E8B75DAAD                   08-17-   Vixen     08-05-2022   08-29-2022   PA0002367737
       File Hash:                                                              2022
       23CE6E0056F366425418B280EC88830ACA49AC1CD615D692EA984E455F913557    01:07:26
22     Info Hash: C44085C07C791D8342CD27FBFA50D418806F1A03                   08-17-   Vixen     07-15-2022   07-22-2022   PA0002359477
       File Hash:                                                              2022
       075069C39BEB463B4D485C11FFD06CDB81C6265A0FD0885F8DD16EAF53A68680    00:40:36
23     Info Hash: 7BA60C0D1CA44FE6DC35D95F279DFF110FC90CE4                   07-30-   Blacked   07-18-2022   08-30-2022   PA0002367753
       File Hash:                                                              2022   Raw
       1647D142912BD785174AD9CDC699C31E9AEF990D9AD50FDF648593411587D6A0    17:16:07
                        Case: 2:23-cv-01022-TSB-KLL Doc #: 2-1 Filed: 03/20/23 Page: 3 of 7 PAGEID #: 22

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: EE12BCC87B83A77998F3B3C521D43D108352A266                   04-23-   Blacked   04-18-2022   04-23-2022   PA0002346421
       File Hash:                                                              2022   Raw
       E46E99A0F34BB9F203E4FC9CCB3DCB96AC565C1231E093ED9DC9E3D6453397E1    04:34:25
25     Info Hash: 9854BD9F9D15E6CAB0E441F29C3A939CECB90B01                   04-23-   Blacked   04-16-2022   04-23-2022   PA0002346424
       File Hash:                                                              2022
       9700672433356F8B1439FE7A6121D986D18E7106E4D26190A296C4EE36932BB0    04:34:13
26     Info Hash: A32AB126B1D4DBFB020189DB9DF602F49A13A29A                   04-13-   Blacked   04-04-2022   04-23-2022   PA0002346436
       File Hash:                                                              2022   Raw
       1BA0E004FEE2699E17D83605CCEA3DC5F4C5B0747F35942FFAE0C0F8D35CAED2    01:31:13
27     Info Hash: 2D1253B6FDBBCE162C474BB02169F4B5C3F89CB6                   04-13-   Blacked   03-28-2022   04-23-2022   PA0002346413
       File Hash:                                                              2022   Raw
       18A1CB3DF4B4D2199B0CC6D1296113CD9410118340B8AF4582F80411811C328A    01:31:08
28     Info Hash: 774C2EA090A6AFE6D8973DBFE0AE522A35D352AA                   04-03-   Vixen     03-25-2022   04-23-2022   PA0002346420
       File Hash:                                                              2022
       C93EAC8256856177FB745EC3F9E5CD79E37C52402C37189C8BA56331DE0C3A6E    17:09:24
29     Info Hash: 1131137E07C4026A3A78DCFED97242444284D2DE                   03-26-   Blacked   04-19-2021   04-27-2021   PA0002288984
       File Hash:                                                              2022   Raw
       462B7D5D68F0B444C8B9207058FA80D435FF6BB40F42A5037402819D7E4846B3    19:24:48
30     Info Hash: DCABC181A87ADA1A22F3A94523BC47844C79EE20                   03-26-   Vixen     08-27-2021   09-30-2021   PA0002319735
       File Hash:                                                              2022
       9B569593FEF7EFA7F289DC6EACA781D8A4AA9DE8AD7986A4907AA10CBFE8D603    19:21:23
31     Info Hash: D55BBEEDD92C89D5C47BA24D89845D9BF67681D1                   03-26-   Blacked   12-03-2018   01-22-2019   PA0002149845
       File Hash:                                                              2022   Raw
       E65E51998121E3A72B20B90C3072A72DBDC723A0AC26D518ACD6B218F2518098    19:19:55
32     Info Hash: E5FB33496F09F6E76C5C514B4CEC8BE3C9C41AAE                   03-26-   Blacked   03-14-2022   03-29-2022   PA0002342865
       File Hash:                                                              2022   Raw
       4E1D64059A74B611326E2DF2BDD558FC53CBD29385CAFE11FEA6B27F1DBE1D85    19:04:13
33     Info Hash: DC1B9D766C597FC946E85E423062ECC46695787E                   03-26-   Blacked   03-07-2022   03-29-2022   PA0002342845
       File Hash:                                                              2022   Raw
       895FF7540BCEB1F9575C65FB27EB7A51965318C099AA5DB7F661B49693CF72D1    19:01:10
34     Info Hash: 5445DD9C92418EE7E926A0407EF2A469CC29E065                   03-26-   Blacked   03-12-2022   03-29-2022   PA0002342846
       File Hash:                                                              2022
       25CF923E04CBCAD2098F8D8D50D454B3FABB2B508996299092B99B58B78A74DA    18:51:48
35     Info Hash: 6035AA12C63BA7B5A3BD424C629C41DCB5C5E94D                   03-05-   Blacked   10-11-2021   10-19-2021   PA0002317052
       File Hash:                                                              2022   Raw
       A5330871A31599822F5ECED5AB8C9376CD354FB59A0728B501459406CA1FA6A3    02:26:02
                        Case: 2:23-cv-01022-TSB-KLL Doc #: 2-1 Filed: 03/20/23 Page: 4 of 7 PAGEID #: 23

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: B82C01991EEB4A25F31C65FF84CDC8CB1B253F59                   02-25-   Vixen     02-04-2022   02-14-2022   PA0002335462
       File Hash:                                                              2022
       CF5A358526923E89773249E53032E4B840AE51281850ABEE0268E3D4A18164A7    20:52:21
37     Info Hash: 3859669F36A1637B502BFBC8FD651F5F1702F4F0                   02-19-   Blacked   02-14-2022   03-29-2022   PA0002342705
       File Hash:                                                              2022   Raw
       D9169B18EB34A72EC1945ECB01CFA18873780F2FD8EE43164FFE190BA19A4715    02:15:24
38     Info Hash: A323CE426DF8477D9E081137B6455177AD8A5250                   02-16-   Vixen     08-22-2019   09-17-2019   PA0002216215
       File Hash:                                                              2022
       1AB2725B8ADE18D027E1DDFB402C129AC6926A2368BDB27144E697901F8EB646    16:33:54
39     Info Hash: 3573BF72004CCEC9F094489ACD66C333342B7E19                   02-13-   Blacked   02-07-2022   02-14-2022   PA0002335458
       File Hash:                                                              2022   Raw
       38C0674378E984C40D8A0F9B4C578F8B6884390C18F467B86D0F9EAE449B998E    00:35:46
40     Info Hash: 219646C6A2BE95846F85B680A80E4003916758B1                   02-05-   Blacked   01-29-2022   02-14-2022   PA0002335485
       File Hash:                                                              2022
       3D644DF15A02586AD4A99F31146F41DC6D29A7560013D39F8A9D0D2154148AC9    19:34:54
41     Info Hash: 65B2AE6546D2A1E20EBC6A467D52FD553681CD5D                   01-27-   Blacked   01-17-2022   03-04-2022   PA0002345790
       File Hash:                                                              2022   Raw
       794E8909910EE06D702F127BF3B058239F8BA3FCC0F7CB96A3C91F99FB61F9B5    03:26:10
42     Info Hash: 9FC9CCF03D4F5C70B5C5D838A2C2B0E54712D689                   01-27-   Blacked   01-10-2022   02-14-2022   PA0002335456
       File Hash:                                                              2022   Raw
       39D230A3E672E3C9773AA53CADF0922594F2F9DCB6B1E376DF5833EAF25A0B9D    03:00:36
43     Info Hash: 3FE961EE90C2E5C570D1558C2B2D1943CB2219CB                   12-14-   Blacked   12-04-2021   12-09-2021   PA0002325833
       File Hash:                                                              2021
       55C9681E8D9E09D407E04F41BE38EBB3DFB942FC52C7C97F531E2DDBD2A4C779    14:12:56
44     Info Hash: 4B576AA5A92A83B45E0239342446F37CD934EBEF                   12-14-   Blacked   12-06-2021   12-13-2021   PA0002325836
       File Hash:                                                              2021   Raw
       C64891F0027E36B48D465F40689AB07D635021569070B5ABF4533F513144F190    14:08:25
45     Info Hash: EB2FA6D8D0F409495CFD399CD2DF142F55EB24D4                   12-14-   Blacked   11-22-2021   12-09-2021   PA0002325831
       File Hash:                                                              2021   Raw
       F6094559C3FA16B75D2E4A8D84124BBF01D59B4C80814C7507E0657BFDFD7D35    13:59:24
46     Info Hash: 81B754848E758295267C8F5A0C61B49648FAF122                   12-14-   Blacked   09-13-2021   10-05-2021   PA0002315289
       File Hash:                                                              2021
       F8569ABFA44E499C9579796053CD159215AA1893FCA5DAA8DD70A22F6450D182    13:59:06
47     Info Hash: DB89B75E9DAD31F15DC983AABCEB9AE720EDB193                   11-30-   Vixen     11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2021
       4944D7029732BDEAB22221D7A9735586B69A051A79247640CBDDC1C8D2D2F2DF    16:32:27
                        Case: 2:23-cv-01022-TSB-KLL Doc #: 2-1 Filed: 03/20/23 Page: 5 of 7 PAGEID #: 24

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: 1FBAD8F90D864550D63CD05A7924A75B686E5302                   11-29-   Vixen     10-22-2021   11-11-2021   PA0002321272
       File Hash:                                                              2021
       BFCC75D79B0A13C65DD783C40EC97C868CDF5679D57346333DC6F985F1404F8C    18:07:46
49     Info Hash: 8E53FF2E1F38259E5F74502C9F49DBDAC1BC341B                   11-29-   Vixen     09-17-2021   10-05-2021   PA0002315292
       File Hash:                                                              2021
       457946B198BE4FA38CC1DD3CB44F63670A89961950BF542FCC977EB501794233    18:07:46
50     Info Hash: B23CE9830A783E770D537D9097F47F4D03FCC397                   11-29-   Vixen     11-26-2021   01-07-2022   PA0002337919
       File Hash:                                                              2021
       BB7CA52BE686951B50DABBD995BFDAF9E6F46B837DBE95A1F0594562FED78E8D    17:01:20
51     Info Hash: 05FC443BCCF844BDAE6F0A203C802D0DC75EA9FC                   10-27-   Tushy     06-14-2020   06-25-2020   PA0002255507
       File Hash:                                                              2021
       250D667E055961E011A284E44247C15471F732169215852A4AF8523CBD803486    00:16:14
52     Info Hash: 6A49A11B13EF590A40FF5301E0376A2FB277D641                   10-24-   Blacked   09-22-2018   11-01-2018   PA0002143419
       File Hash:                                                              2021
       C3C755A26B625D3D20995FCF8C88BEC28BDEC365CF0333DFC275F3EF8D7B50A7    02:55:43
53     Info Hash: E5A6E612E0C052ABEB93B81B989A930C9C4AD15F                   10-23-   Blacked   03-01-2021   03-08-2021   PA0002280355
       File Hash:                                                              2021   Raw
       64691131C0805D66464A070DC2CE8B65033CEF77C31EE6D5251D1979B37CB46D    14:45:12
54     Info Hash: 64C5FE3D236310F40A80E7FBC9905050811C3CB6                   10-23-   Vixen     09-13-2021   10-05-2021   PA0002315286
       File Hash:                                                              2021
       2FC8A2A0D43277B48375863E8F59D1CAFF37560781141E53CAB03956CC4901CD    14:33:21
55     Info Hash: E77E7917B5F3C73AD9E3925EBF133C8A7B3F49C4                   10-23-   Tushy     10-17-2021   11-11-2021   PA0002321294
       File Hash:                                                              2021
       A6CD82E7EA47C9102414E1769267CCCC740102FAF27221768FA1702B8E41FF3D    14:29:18
56     Info Hash: F6DF6136036FD1AC6A63FC65223FB3548A7A67FB                   10-23-   Blacked   09-29-2021   11-11-2021   PA0002321302
       File Hash:                                                              2021
       C126126E12706240571EBD2119FA12AB4463F0F5B304E6DF6EE908560F1E9AA5    14:24:13
57     Info Hash: 644EF1BBC297123508226CB622D546690BA22249                   10-23-   Blacked   10-09-2021   10-19-2021   PA0002317059
       File Hash:                                                              2021
       89E18C3051E0E4C52344EB58518B241F19BFC053B7D43CB37E70E9FD27FFE0E6    14:18:20
58     Info Hash: CCF640BE0F22EDFFA9A663CAF10C58DAFF0F7291                   10-08-   Blacked   09-25-2021   10-05-2021   PA0002315288
       File Hash:                                                              2021
       302D8E587237A608442ABBB835E6496B29280BD0D18E9997F623E4F4E6FF138C    20:17:30
59     Info Hash: 7B72E3B1893E2790EAB75ADEB289722092940998                   09-17-   Blacked   08-23-2021   09-21-2021   PA0002312669
       File Hash:                                                              2021   Raw
       A1803B918EF27AC63E6EAC300110EBFBA330D06757F2F03E417971C2A3112386    15:20:43
                        Case: 2:23-cv-01022-TSB-KLL Doc #: 2-1 Filed: 03/20/23 Page: 6 of 7 PAGEID #: 25

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
60     Info Hash: B22286C1F80403E5873A5A3F15FB4B270FB4CDFE                   08-29-   Blacked   08-19-2021   09-30-2021   PA0002319753
       File Hash:                                                              2021
       8EF209FB4B8236108E2F39BFE8228149F9871441CB59BC82AE25A07165DC070E    17:28:08
61     Info Hash: 54F7FD3FB7A3636326E28499C9A8EAF88BA22E43                   08-21-   Blacked   08-14-2021   08-23-2021   PA0002308398
       File Hash:                                                              2021
       881181081A5469DF933A3A7DDC466F70F2A4E6E81B4B8F3A77AEAC53356C36C0    15:27:20
62     Info Hash: 6B7AFBC66F26085D7C1481004EFBF08404097D58                   07-27-   Blacked   05-29-2021   07-08-2021   PA0002300658
       File Hash:                                                              2021
       5370C5430308806127F943DBBFF09F1EDE55FDDEE805538951E37B67640DC422    17:50:29
63     Info Hash: 94986CB806976C4C5198C16F0F1FAC040750B262                   07-27-   Vixen     07-02-2021   08-20-2021   PA0002312015
       File Hash:                                                              2021
       27538E82EE4D8260AE4CF252120D3FD292A27968154DD723E3EBF581A54C4B98    17:25:55
64     Info Hash: 93E2A5FE65E5A1C6FD78BEFFAE920CD4F7701877                   07-27-   Tushy     07-18-2021   08-02-2021   PA0002305087
       File Hash:                                                              2021
       B01737AC50BC1B2716C06392CC8B6FE62736C8FF622FFA0F3C04D601409B6668    17:17:22
65     Info Hash: D8377F22A5B76F6FE17E2C1918296688E02026EB                   07-27-   Tushy     02-14-2021   03-08-2021   PA0002280366
       File Hash:                                                              2021
       41F17368762A71E497D6DB6FBD55BEEE103180B1035CB7E017F77AAC3FF0D427    17:15:27
66     Info Hash: 9DFB2B28348D2D9F5CEE9E2B3D6B412C0A037F67                   07-22-   Blacked   10-17-2020   11-05-2020   PA0002263387
       File Hash:                                                              2021
       83CA17C0119571E11B4A3870A466DF2DF140E9DF6908DF2875BB600BF158DA60    00:47:02
67     Info Hash: 8A705E0A2620A2D76770FFA5C03AB5CFB80B90DC                   07-18-   Blacked   10-12-2020   10-22-2020   PA0002261809
       File Hash:                                                              2021   Raw
       D9D80A46E30C75292B548B9FB7B079B0CDA718926F48544AA4B707B427DEAD71    17:09:12
68     Info Hash: 411399E12D72B77BF41A222B127412F63BE35AB8                   07-18-   Blacked   06-24-2018   07-26-2018   PA0002112154
       File Hash:                                                              2021
       6042D19A5936454A0F3A4D2CF76D1AC4F59194B203647A31340E72F86680089B    16:50:28
69     Info Hash: BD1E1B74139A3559A7D74C32C30C8C5AF26E216C                   07-17-   Blacked   06-14-2021   08-02-2021   PA0002305094
       File Hash:                                                              2021   Raw
       C32D75398C1407BF9888D2B86FC69B9FAAEA5AD150316F9D5D4243879CB41011    13:29:02
70     Info Hash: 1298F063782983D727828876369D5BBECDA59BD8                   07-17-   Blacked   06-12-2021   07-08-2021   PA0002300659
       File Hash:                                                              2021
       9D3CC147078BF10D237E420B280AF5B8C9DE38D212CAE4AA0580DA88DF36C039    13:21:35
71     Info Hash: 5967A179ECB17E915F3957FADEC80E9B2D5B9669                   07-17-   Blacked   07-03-2021   08-02-2021   PA0002305091
       File Hash:                                                              2021
       438A13F42E95B96712064573C99921F9AFBF1427A47586982260C2CAA5E6B528    13:18:02
                        Case: 2:23-cv-01022-TSB-KLL Doc #: 2-1 Filed: 03/20/23 Page: 7 of 7 PAGEID #: 26

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
72     Info Hash: F436716E467358A87CA812C874AD4FBE443ACD9C                   06-11-   Blacked   03-29-2021   04-14-2021   PA0002286726
       File Hash:                                                              2021   Raw
       5A9629BD9998889373B3711AE73D36AA68B5493EED9C8A9F6343DCED00AFFE51    05:06:17
73     Info Hash: D0DA7FAA1A2C9A7CB4560846FE21B2CEA37501BC                   06-11-   Blacked   05-22-2021   06-09-2021   PA0002295591
       File Hash:                                                              2021
       CDEC49DFF5C64043A5223D570A0FB4D175AEEE463E9B0589EB40BD8C0C932C7C    05:04:59
74     Info Hash: 05060BDE36F9397AB023AD369BC9F9718E584065                   05-22-   Blacked   01-30-2021   02-26-2021   PA0002283695
       File Hash:                                                              2021
       88E45EDF4770BEA591F4385CE1351485DD13F9A8AB3243BA56BF9E1FD0AA7D35    14:37:30
75     Info Hash: EB2F55053CBABCB544A4C56CFECBDB52C0A94BF3                   05-16-   Vixen     02-05-2021   02-09-2021   PA0002276151
       File Hash:                                                              2021
       2BB8B24F3B41E73E425075504E83A53C0D1E709F9916E6C7EA5671E2A27BE6AF    20:36:58
76     Info Hash: DB7242A1385295C654F1596BC1E47270AD41E7FE                   05-16-   Blacked   03-15-2021   03-22-2021   PA0002282515
       File Hash:                                                              2021   Raw
       AD468CA8031D3E3A3680F1268A7CDF31AD8C53E395C66DA879B8C211D3BA5CFF    20:25:17
